
Upon consideration of the petition filed on the 12th of February 2016 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th of December 2016."
The following order has been entered on the motion filed on the 17th of February 2016 by Plaintiff for Leave to File Petition for Discretionary Review Out of Time:
"Motion Denied by order of the Court in conference, this the 8th of December 2016."
Upon consideration of the petition in the alternative filed by Plaintiff on the 17th of February 2016 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th of December 2016."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
